                               NO. 07-10-0234-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL B
                                       
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JULY 13, 2010
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                        In re JOHNNY LEE REY, Relator 

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Memorandum Opinion
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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Pending before the court is the petition of Johnny Lee Rey for a writ of mandamus.  Rey asks that we direct the Honorable Ana Estevez, District Judge, 251st Judicial District, to act upon a pending motion and to void an "Order to Withdraw Inmate Funds" (Order to Withdraw).  We deny the petition. 
	The motion in question involved Rey's effort to have the trial court vacate the aforementioned Order to Withdraw.  The trial court acted upon that motion by denying it on June 25, 2010.  A true and correct copy of that order is attached to this opinion as exhibit A.  Thus, the portion of Rey's petition asking us to direct the trial court to act upon his motion is now moot.
To the extent that the trial court issued the Order to Withdraw and now denied Rey's motion to strike or otherwise vacate it, the appropriate avenue for relief available to him is via appeal.  Harrel v. State, 286 S.W.3d 315, 321 (Tex. 2009).  Since the Texas Supreme Court has so held, he has an adequate remedy of law and, therefore, is not entitled to relief via mandamus.
	The petition for writ of mandamus is denied.

							Per Curiam  












	
